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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-01475-KMT

  CARLOS INNISS, on behalf of himself and all others similarly situated,

         Plaintiff,

  v.

  ROCKY MOUNTAIN INVENTORY, INC., a Colorado corporation,
  BRIAN HUNGERFORD, an individual,
  JANINE HUNGERFORD, an individual, and
  LINDA HUNGERFORD, an individual,

         Defendants.


               NOTICE OF FILING OF CONSENTS TO BECOME PARTY PLAINTIFFS


         PLEASE TAKE NOTICE, that pursuant to 29 U.S.C. § 216, Plaintiff hereby files the

  attached Consent Forms for the following individuals:

         1.   Kristian Frazier
         2.   Naoma Jones
         3.   Rebecca Laabs
         4.   Marina Dominguez

              Respectfully submitted this 29th day of April, 2019.

                                                      /s/ Paul F. Lewis
                                                      Paul F. Lewis
                                                      Michael D. Kuhn
                                                      Andrew E. Swan
                                                      LEWIS | KUHN | SWAN PC
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                                                      Attorneys for Plaintiff
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                                       CERTIFICATE OF SERVICE

         I hereby certify that on this 29th day of April, 2019, I filed the foregoing using the

  Court’s e-filing system, which will send notification to all counsel of record.

                                                         /s/ Anne S. Pearcy
                                                         Anne S. Pearcy
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